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                           Exhibit 28
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                                   EXHIBIT 28
                      DECLARATION OF DR. GEORGE R. THURSTON
                                 (Case No. 17-cv-1679-WJM-MEH)

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                          The Adverse Human Health Effects of
                              Traffic-Related Air Pollution



                                 SUBMITTED ON BEHALF OF
                                    THE SIERRA CLUB
                                COLORADO LATINO FORUM
                       ELYRIA SWANSEA NEIGHBORHOOD ASSOCIATION
                          CLAYTON NEIGHBORHOOD ASSOCIATION




                                        November 6, 2017

  I declare, subject to the penalty of perjury under the laws of the United States, that the
  following assessment of the health effects literature, and my conclusions based thereon, is true
  and correct to the best of my knowledge, understanding and belief.

                 Executed at Chester, New York, this 3rd day of November, 2017:




                                   __________________________________
                                    George D. Thurston, Sc. D.
                                         3 Catherine Court
                                        Chester, NY 10918
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  Background & Qualifications
        I am a full Professor at the New York University (NYU) School of Medicine in the
  Department of Environmental Medicine. I have also served as the Deputy Director of the NYU
  Particulate Matter Health Research Center, and am presently the Director of the Program in
  Exposure Assessment and Health Effects in my department at the School of Medicine.

         I received my undergraduate degree in Environmental Engineering from Brown University in
  1974, and my Doctorate of Science (Sc.D.) in Environmental Health Sciences from the Harvard
  University School of Public Health in 1983. I served on the New York State Department of
  Environmental Conservation's Air Management Advisory Committee from 1991 to 1996, and was
  Chairman of the Health and Environment Panel of the Canadian Joint Industry/Government Study of
  Sulfur in Gasoline and Diesel Fuels in 1997.

         I have published extensively regarding the human health effects of inhaled air pollutants,
  particularly in relation to asthma attacks, hospital admissions, and human mortality. I have been
  called upon by both the U.S. House of Representatives and the U.S. Senate multiple times in recent
  years to provide testimony before them regarding the human health effects of air pollution.

         I have served as an advisor to the U.S. EPA regarding the human health effects of air
  pollution as a member of the Clean Air Scientific Advisory Committee (CASAC) panel on Sulfur
  Oxides and Nitrogen Oxides, and as a contributing author of various EPA Integrated Science
  Assessments (ISAs), which are relied upon by the EPA to set air pollution air quality standards in the
  US. A copy of my professional curriculum vitae is attached to this letter, and it accurately represents
  my relevant education, training, and experience.

  Introduction
     Traffic is an increasingly dominant contributor to air pollution in Denver, and elsewhere in the
  United States. Cars, buses, trucks and other motorized vehicles are amongst the largest sources of
  air pollution that have been clearly linked to adverse health effects (e.g., see HEI, 2010). These
  adverse effects of traffic related air pollution have been documented in cities around the world,
  across the nation, including in around cities like Denver, CO. Most people are exposed to air
  pollution from road traffic on a daily basis, whether as a result of residing at homes located near
  highways, or driving, walking, or standing along busy streets. Vehicle engines are known to
  produce a number of air pollutants that pose risks to public health. When engines burn fuel (gasoline
  or diesel), chemicals such as fine particulate matter (regulated as PM2.5), ultrafine particles (UFP),

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  nitrogen oxides, carbon monoxide, volatile organic compounds (VOCs), elemental carbon (EC)
  black carbon soot and many other different toxic air pollutants are emitted from tailpipes. Nearby
  populations are exposed to all of these pollutants simultaneously. Those living in residences or
  attending schools along I-70 in Denver have been exposed to this complex mixture of pollutants for
  more than 50 years, since the interstate was built in the 1960s.
         Emissions from vehicles have diminished since the implementation of emission controls on
  motor vehicles under the Clean Air Act, and Denver has met air quality standards for these
  pollutants in recent years. However, compliance with national air quality standards established for
  six individual pollutants emitted from motor vehicles does not assure protection against all public
  health effects of daily exposure to the complex mixture of multiple pollutants emitted from cars,
  trucks, and buses (see discussion of health effects at levels meeting the standards below).

  Multi-pollutant Effects Are Critically Important to Understand Health Effects in the Near-Highway
  Environment.

         The usual approach to assessing health risks of environmental chemicals, such as air
  pollutants, has been to evaluate them one at a time. In reality, however, residents living or children
  attending schools near highways are routinely exposed to a wide variety of chemicals, and scientists
  and regulators are increasingly aware of potential health implications from the cumulative effects of
  these multiple air pollutants (Macdonell et al., 2013). In the case of traffic air pollution, people living
  beside or travelling on roadways are exposed to an array of air pollutant mixtures that include
  gaseous (e.g., nitrogen dioxide, sulfur oxides, and carbon monoxide) and vapor (e.g., volatile organic
  compounds, such as benzene) air pollutants that can be breathed along with the particulate matter
  exposures, adding to the toxicity of breathing traffic-related air pollution. These include the EPA
  designated Mobile Source Air Toxic (MSAT) pollutants: Acrolein, Benzene, 1,3-butadiene, Diesel
  Particulate Matter, Formaldehyde, Naphthalene, and Polycyclic Organic Matter (POM) (US EPA,
  2006). Indeed, research has confirmed the negative cumulative impact of residence in high traffic
  counties on long-term human population survival (Lipfert et al, 2009).




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           THE HEALTH EFFECTS OF AIR POLLUTION FROM ROAD TRAFFIC

   The epidemiological literature on the health effects of traffic related air pollution is growing rapidly.
  The findings of recent scientific studies indicate that traffic is a significant contributor to the adverse
  effects of air pollution on public health. Studies of air pollution near roadways have provided
  insights into the spatially and temporally dynamic nature of traffic related pollution. The
  epidemiological studies on traffic and health have largely focused on the consequences of exposures
  incurred by living near large roadways, such as freeways in southern California. Air pollution from
  road traffic has been linked to a variety of negative health effects. To date, the findings indicate
  associations of traffic indicators with increased risk for multiple adverse health effects that include
  asthma and allergic diseases, cardiac effects, respiratory symptoms, reduced lung function, inhibited
  lung function growth and development, premature mortality, adverse reproductive outcomes, and
  lung cancer, as elaborated below.


  • Asthma and allergic disease
          Numerous studies have documented the role of traffic related pollution in respiratory health.
  Scientific studies in North America and Europe show that children living in areas with high road
  traffic volumes have more respiratory-related illness symptoms than other children. More
  specifically, a significant number of studies conclude that exposure to traffic pollution can aggravate
  asthma in children (HEI, 2010). Brauer et al. (2002, 2007) found associations by elevated
  concentrations of NO2 and diesel soot at children’s homes with increased risk of wheezing in
  children in the Dutch PIAMA cohort. Symptom associations were also reported in two separate
  analyses of the GINI and LISA cohort study in Munich (Gehring et al. 2002; Morgenstern et al.
  2007), in which dry cough at night had an association with traffic-related pollution in boys at ages 1
  and 2 years. In a subsequent study (Morgenstern et al., 2008), children ages 4 and 6 years exhibited
  associations by distances from a busy street (50 m, 250 m, 1000 m, or > 1000 m) in Munich with
  symptoms of asthma, hay fever, and eczema. At the nearest (50-m) distance category, the roadway
  proximity association reached statistical significance for asthma symptoms (OR = 1.24; 95% CI,
  1.01–1.52), indicating a 24% increase in asthma symptoms in those children vs. children living more
  than 1 km away from the roadway.
          Venn et al. (2001) investigated the relation between proximity of the family home to the
  nearest main road, estimated objectively using geographical information system software, and the


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  risk of wheeze in the past year in a case-control sample of 6,147 primary schoolchildren (age 4 to 11
  yr.) and a random cross-sectional sample of 3,709 secondary schoolchildren (age 11 to 16 yr.) in
  Nottingham, United Kingdom. Among children living within 150 m of a main road, the risk of
  wheeze increased with increasing proximity by an odds ratio (OR) of 1.08 (95% confidence interval
  [CI] 1.00 to 1.16) per 30-m increment in primary schoolchildren, and 1.16 (1.02 to 1.32) in
  secondary schoolchildren (See Figure 1).




  Figure 1. Living Near a Main Road Increases the Risk of Wheezing Illness in Primary (left) and
  Secondary (right) School Children (Venn et al., 2001)

         Recent evidence indicates that these adverse traffic-associated health effects are contributed
  to by the traffic particles in the PM10 size range. For example, Somoli et al. (2016) used air particle
  composition and number networks in London between 2011 and 2012 to derive six source-related
  factors for PM10 and four factors for size distributions of ultrafine particles (NSD). They assessed the
  associations of these factors, at pre-specified lags, with daily total, cardiovascular (CVD) and
  respiratory mortality and hospitalizations using Poisson regression. Traffic-related PM10 displayed
  an association with CVD admissions aged 15-64 years (1.01% ,95% CI: 0.03%-2.00%), as well as a
  positive association with pediatric (0-14years) respiratory hospitalizations (0.92%, 95%CI: − 0.40%,
  2.26%), per interquartile range (IQR).
         Esposito and co-authors (2014) evaluated the effects of traffic-related pollution on the
  exacerbation of asthma and development of respiratory infections in Italian children suffering from
  asthma or wheezing, compared with healthy subjects, and estimated the association between
  incremental increases in principal pollutants and the incidence of respiratory symptoms. Among the
  329 children with recurrent wheezing or asthma and 364 healthy subjects who completed follow-up,
  living close to the street with a high traffic density was a risk factor for asthma exacerbations (odds
  ratio [OR]=1.79; 95% confidence interval [CI], 1.13-2.84), whereas living near green areas was

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  found to be protective (OR=0.50; 95% CI, 0.31 -0.80). An increase of 10 µg/m3 of particulates less
  than 10 microns in diameter (PM10) increased the onset of pneumonia in wheezing/asthmatic
  children (continuous rate ratio [RR]=1.08, 95% CI: 1.00-1.17). The authors concluded that there is a
  significant association between traffic-related pollution and the development of asthma
  exacerbations and respiratory infections in children born to atopic parents and in those suffering
  from recurrent wheezing or asthma, supporting the need for reducing exposure to PM10 as crucial for
  protecting respiratory health in children with underlying respiratory disease.
         Overall, the 2010 Health Effects Institute (HEI) Publication 17 found (on page xv.) that: "the
  Panel concluded that the evidence is sufficient to support a causal relationship between exposure to
  traffic-related air pollution and exacerbation of asthma." I agree with this HEI Publication 17
  conclusion.
         While the HEI Publication 17 Review of the health effects of traffic air pollution concluded
  that the evidence showing associations between exposure to traffic air pollution and the onset of new
  asthma in healthy children was only suggestive at that time (i.e. not enough to conclude causality),
  that report was published in January 2010, before more definitive evidence of this relationship was
  published. Notably, McConnell et al (2010) later published a study of the relationship of new-onset
  asthma with traffic-related pollution near homes and schools of children participating in the
  California Children’s Health Study. This study is highly-regarded in epidemiology science because it
  is a long term study of a large cohort, making its conclusions statistically robust. Physician diagnosis
  of new-onset asthma (n = 120) was identified during 3 years of follow-up of a cohort of 2,497
  kindergarten and first-grade children who were asthma- and wheezing-free at study entry into the
  Southern California Children’s Health Study. The researchers assessed traffic-related pollution
  exposure based on a line source dispersion model of traffic volume, distance from home and school,
  and local meteorology. They found that asthma risk increased with modeled traffic-related
  pollution exposure from roadways near homes [HR 1.51; 95% confidence interval (CI), 1.25–1.82]
  and near schools (HR 1.45; 95% CI, 1.06–1.98). Thus, these findings more definitively indicate that
  the risk of new asthma was increased by approximately 50% among children exposed to roadway
  pollution, vs. children who went to school and/or lived further away from the roadways. It is now
  clear that living and/or going to school near a major roadway is a significant risk to healthy children,
  not only for worsening their asthma if they have it, but also of developing asthma disease among
  those who previously did not have that disease.



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   • Reduced lung function
        Research by Svendsen et al. (2012) has found both long-term and short-term reductions in lung
  function (i.e., ability to inhale and exhale air) as a result of traffic-related air pollution exposure. For
  example, investigators examined 5,654 children enrolled in the El Paso, Texas, public school district
  by questionnaire in 2001. School-level and residence-level exposures to traffic-related air pollutants
  were estimated using a land use regression model. For 1,529 children with spirometry, residential
  levels of traffic-related ambient air pollution were associated with a 2.4% decrement in forced vital
  capacity (95% confidence interval (CI): -4.0, -0.7) after adjustment for demographic,
  anthropomorphic, and socioeconomic factors and spirometer/technician effects.
        In my own work in the South Bronx, NY, I have found reduced lung function among
  elementary school children occurs on days of elevated traffic-related pollution concentrations (Spira-
  Cohen et al, 2011). As shown in the plots below, the impact of diesel traffic related elemental
  carbon particles (a marker for diesel pollution in urban areas) was larger and more significant than
  fine particles in general (PM2.5).




  Figure 2. Lung Function in Children Decreases with Increasing Exposure to Traffic Related EC.

   • Reduced Lung Development and Growth
          Traffic-related air pollution has also been indicated to inhibit the growth of young lungs
  among children over the long-term of exposure. Schultz et al (2012) followed more than 1,900
  children in the Swedish birth cohort BAMSE with repeated questionnaires, dynamic spirometry, and
  IgE measurements until 8 years of age. Outdoor concentrations of particulate matter with an
  aerodynamic diameter less than 10 µm (PM10) from road traffic were estimated for residential, day
  care, and school addresses from birth and onward using dispersion modeling. The relationship
  between time-weighted average exposure during different time windows and FEV at 8 years was
  analyzed by linear regression, adjusting for potential confounding factors, including short-term


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   exposure to air pollution. The authors found that a 5th to 95th percentile difference in traffic-related
   average PM10 exposure during the first year of life was associated with a reduced FEV1 of 259.3 ml
   (95% confidence interval, 2113 to 25.6) at 8 years of age. Clearly, exposure to traffic-related air
   pollution reduces the ability for children to properly grow and develop their full lung capacity.
   Reduced lung capacity is likely to have lifelong consequences, reducing quality of life.
         In addition, a total of 2,278 children from the Swedish birth cohort BAMSE (Children,
   Allergy, Milieu, Stockholm, Epidemiological Survey) performed spirometry at age 16 years. Levels
   of outdoor air pollution from local road traffic were estimated (nitrogen oxides [NOx] and
   particulate matter with an aerodynamic diameter of <10 µm [PM10]) for residential, daycare, and
   school addresses during the lifetime using dispersion modeling (Schultz et al., 2016). Exposure to
   traffic-related air pollution during the first year of life was associated with FEV1 at age 16 years of -
   15.8 ml (95% confidence interval [CI], -33.6 to 2.0 for a 10 µg/m3 difference in NOx),
   predominately in males      (-30.4 ml; 95% CI, -59.1 to -1.7), and in subjects not exposed to maternal
   smoking during pregnancy or infancy. Later exposures appeared to have had an additional negative
   effect. The results for PM10 were concluded by the authors to be similar to those for NOx.

   • Cardiac effects
         Exposure to air pollution from road traffic has also been linked to a number of other adverse
   health outcomes including heart attack, coronary artery disease and increased risk of death from
   cardiac conditions in adults. Indeed, the 2010 American Heart Association scientific statement on
   ambient particles noted that near-roadway air pollution (NRAP) “as a whole appears to be a specific
   source associated with cardiovascular risk” (Brook et al. 2010). For example, Peters et al. (2000)
   compared patient implanted defibrillator discharge interventions among 100 patients with such
   devices in eastern Massachusetts, according to variations in concentrations of particulate matter,
   black carbon, and gaseous air pollutants that were measured daily for the years 1995 through 1997.
   Patients with ten or more interventions experienced increased arrhythmias in association with
   nitrogen dioxide, carbon monoxide, black carbon, and fine particle mass. A stronger association was
   found for NO2 and black carbon (a component of PM2.5 emitted primarily in diesel exhaust in urban
   areas) than for total PM2.5. Consistent positive associations were observed with black carbon, CO,
   and NO2 (pollutants emitted from the tailpipes of traffic vehicles), with the strongest associations
   observed for NO2. A 26-ppb increase in nitrogen dioxide was associated with nearly a doubling of
   defibrillator interventions (odds ratio = 1.8; 95% confidence interval = 1.1–2.9). These results

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   indicate that exposure to elevated levels of these traffic-related air pollutants are associated with life-
   threatening arrhythmias.
         In January 2010, the HEI Publication 17 Report (HEI, 2010) concluded that the evidence
   supporting the effects of traffic-related air pollution on cardiac morbidity and mortality were
   suggestive, but that was also concluded before newer, more definitive evidence was published. In
   my own work (Lall et al, 2010) in New York City, daily PM2.5 speciation measurements collected in
   Mid-town Manhattan were analyzed via Positive Matrix Factorization source apportionment to
   determine the original source of different components of air pollution. Daily and distributed-lag
   Generalized Linear Models of Medicare respiratory and cardiovascular hospital admissions during
   2001-2002 considered PM2.5 mass and PM2.5 from five sources: transported sulfate (sulfur particles
   predominantly formed in the atmosphere from sulfur oxide emissions), residual oil (emitted
   primarily from residential and commercial space heating), traffic, steel/construction and soil.
   Traffic-related particulate matter was the source most significantly associated with an increase in the
   risk of cardiovascular hospital admissions.
         Other more recent evidence also supports a causal link between near-roadway air pollution
   (NRAP) and coronary heart disease (CHD) mortality and morbidity (e.g., Gan et al. 2010; Gan et al.
   2011; Ostro et al., 2015). Gan et al. (2011) conducted a population-based cohort study that included
   a 5-year exposure period and a 4-year follow-up period. All residents 45-85 years of age who resided
   in Metropolitan Vancouver during the exposure period and without known CHD at baseline were
   included in this study (n=452,735). Individual exposures to traffic-related air pollutants including
   black carbon, fine particles [aerodynamic diameter ≤ 2.5 µm (PM2.5)], nitrogen dioxide (NO(2)), and
   nitric oxide were estimated at residences of the subjects. An interquartile range elevation in the
   average concentration of traffic-related black carbon (0.94 × 10(-5)/m filter absorbance, equivalent
   to approximately 0.8 µg/m3 elemental carbon) was associated with a 3% increase in CHD
   hospitalization (95% confidence interval, 1-5%) and a 6% increase in CHD mortality (3-9%), after
   adjusting for age, sex, preexisting comorbidity, neighborhood socioeconomic status, and
   copollutants (PM2.5 and NO2). There were clear linear exposure-response relationships between
   black carbon and coronary events in this study.
         Ostro et al. (2015) analyzed a statewide cohort of > 100,000 women from the California
   Teachers Study who were followed from 2001 through 2007 with respect to their air pollution
   exposures and their health impacts. They used a Cox proportional hazards model to estimate the
   association between the pollutants and all-cause, cardiovascular, ischemic heart disease (IHD), and

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   respiratory mortality. They observed statistically significant (p < 0.05) associations of IHD with
   PM2.5 mass, nitrate, elemental carbon (EC), copper (Cu), and secondary organics and the sources
   gas- and diesel-fueled vehicles, meat cooking, and high-sulfur fuel combustion. The authors also
   observed significant positive associations between IHD and several ultrafine components including
   EC, Cu, metals, and mobile sources.
         Furthermore, based on the Gans and colleagues studies, Ghosh et al. (2016) have estimated the
   CHD burden from NRAP, finding it to be a significant contributor to this health burden. They
   estimated the population attributable fraction and number of CHD events attributable to residential
   traffic density, proximity to a major road, elemental carbon (EC), and PM2.5, as compared with the
   expected disease. In 2008, for example, an estimated 1,300 CHD deaths (6.8% of the total) were
   attributed to traffic density, 430 deaths (2.4%) to residential proximity to a major road, and 690
   (3.7%) to EC. These results confirm the large adverse cardiovascular health impacts that exposures
   to near-roadway air pollution can have on a population living near major roadways.
         In addition to the population health evidence, investigations have also found biological
   markers of cardiac effects by traffic-related air pollution. Hoffmann et al. (2007) conducted a cross-
   sectional analysis of data collected at baseline for 4,494 residents of Germany followed from 2000 to
   2003. The age of participants ranged from 45-74 yrs. of age. The authors estimated 1-yr avg.
   exposure to PM2.5 in 2002 (the midpoint of the baseline exam). They found a 43% (95% CI: -15 to
   115) increase in coronary-artery calcification (CAC) per 10 µg/m3 increase in PM2.5. The strength of
   association was similar across demographic and clinical characteristics subgroups. The authors
   reported a more consistent association of CAC with traffic exposure (i.e., distance from a major
   roadway) than with PM2.5 mass in general, indicating a stronger role by traffic particles. In a
   subsequent analysis of these data, Hoffmann et al. (2009) examined the association between Ankle-
   Brachial Index (ABI, an index of Peripheral Arterial Disease, PAD) and PM2.5 in this population. In
   both studies, residing near a major roadway was the strongest predictor of atherosclerotic disease
   (build-up of arterial plaque) progression.

   • Premature mortality
         Premature mortality, especially for cardiac causes, has been widely found to be associated with
   traffic-related air pollution. In my own research in New York City concluded after the HEI 2010
   traffic report, we analyzed daily deaths and emergency hospitalizations for cardio-vascular diseases
   (“CVD”) among persons ≥ 40 years of age for associations with PM2.5, its chemical components,

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   nitrogen dioxide (NO2), carbon monoxide (CO), and sulfur dioxide for the years 2000-2006 using a
   Poisson time-series model adjusting for temporal and seasonal trends, temperature effects, and day
   of the week (Ito et al, 2011). We estimated excess risks per interquartile-range increases at lags 0
   through 3 days for warm (April through September) and cold (October through March) seasons. We
   found that increased CVD mortality and increased CVD hospitalizations were both associated with
   increased exposure to traffic–related elemental carbon and NO2 throughout the year in New York
   City, NY.
          Similarly, Beckerman et al. (2012) assessed the association between the occurrence of
   Ischemic Heart Disease (IHD) and air pollutants in Toronto, Ontario, Canada. Confounding was
   controlled with individual and neighborhood-level covariates. After adjusting for multiple
   covariates, nitrogen dioxide(NO2) (a pollutant derived from traffic) was significantly associated with
   increased IHD risk, relative risk (RR) = 1.33 (95% confidence interval [CI]: 1.2, 1.47). Subjects
   living near major roads and highways had a trend toward an elevated risk of IHD, RR = 1.08 (95%
   CI: 0.99, 1.18).
          In Phoenix, research by Mar et al (2000) evaluated the association between mortality
   outcomes in elderly individuals and particulate matter (PM) of varying aerodynamic diameters (in
   micrometers) [PM10, PM2.5, and PMCF (PM10 minus PM2.5)], and selected particulate and gaseous
   phase pollutants in Phoenix, Arizona, using 3 years of daily data (1995–1997). Although source
   apportionment and epidemiologic methods have been previously combined to investigate the effects
   of air pollution on mortality, this was the first study to use detailed PM composition data in a time–
   series analysis of mortality. These authors found that total and cardiovascular disease mortality was
   significantly associated with air pollutants emitted from motor vehicles. Total mortality was
   significantly associated with CO and NO2 (p < 0.05). Increased cardiovascular mortality was
   significantly associated with CO, NO2, SO2, PM2.5, PM10, PMCF (p < 0.05), and EC soot (emitted
   primarily in diesel exhaust in urban environments).
          Thus, the evidence indicating that the risk of cardiac illness and mortality from exposure to
   traffic-related air pollution has widely expanded since the HEI Publication 17 report in 2010, and I
   conclude that adults are at increased risk of cardiac illness and/or mortality from increased exposure
   to the complex mix of pollutants emitted from traffic and heavy duty diesel construction equipment.

   Lung Cancer Risk
          There are a host of other adverse health effects that could result from human exposures from

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   living proximal to the air pollution emitted from highways. These other potential adverse effects of
   air pollution exposure from traffic-related air pollution exposure may include increased risk of lung
   cancer, especially from increased exposure to diesel particulate matter, and adverse birth outcomes
   (e.g., low birth weight, small for gestational age, and perinatal mortality). In my own research in the
   largest cohort studied to date, we have found an increased risk of lung cancer to be associated with
   increased exposure to PM2.5 air pollution (Pope et al, 2002). As a result of this research, as well as
   other studies, the evidence for the association of particulate matter and lung cancer has strengthened. The
   International Agency for Research on Cancer (IARC) has recently declared particulate matter air pollution
   carcinogenic to humans. Furthermore, recent evidence has implicated traffic particulate matter in this
   association. Hart and colleagues (2015) studied the long-term ambient residential traffic-related exposures and
   their relationship to risk of incident lung cancer in the Netherlands Cohort Study on Diet and Cancer. They
   observed elevated risks of incident lung cancer with exposure to measures of traffic exposure. Thus, recent
   research indicates that exposure to traffic-related particulate matter early in life may lead to increased risk of
   lung cancer later in life.


   Adverse Health Effects of Air Pollution Exposure During Ambient Standard Compliance.

           Regarding the ambient exposure levels at which the above described adverse health effects
   may be seen, it is important to note that there is no known safe level of exposure of particulate matter
   such as those from traffic emissions in question here. The various serious adverse effects of long-term
   exposure to particulate matter extends well below the prevailing US air quality standards as set by the
   US EPA, or on days above the level of those standards, but not classified as violations (e.g. during
   those days exceeding the standard limits, but not exceeding the number of allowable exceedance days).
   As shown in the Figure 3 below, my research has shown that increases in long-term exposure to PM2.5
   particulate matter air pollution are associated with increases in the risk of cardiovascular death among
   those exposed, even well below the present 12 µg/m3 annual PM2.5 air quality standard. In addition, a
   recent nationwide analysis of the U.S. Medicare population confirmed that increases in significant
   health effects, including mortality, are associated with exposures below the present national ambient
   air quality standards (Di et al, 2017)
           It should be noted that the U.S. EPA stated that meeting an air quality standard does not prevent
   significant adverse health effects from occurring in the exposed population. Indeed, in its 2013
   rulemaking, adopting the revised annual particulate matter National Ambient Air Quality Standard
   (NAAQS) for PM2.5, EPA explained that “evidence- and risk-based approaches using information

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   from epidemiological studies to inform decisions on PM2.5 standards are complicated by the
   recognition that no population threshold, below which it can be concluded with confidence that PM2.5-
   related effects do not occur, can be discerned from the available evidence.” [78 Fed. Reg. pg. 3098
   (January 15, 2013)] (emphasis added). The same conclusion also applies to PM10, as no threshold has
   been found to exist below which there are no PM10 adverse health effects.




   Figure 3. Mortality Risk from Cardiovascular Disease Increases with Rising PM2.5 Exposure, Even
   Well Below the Present US Ambient Air Quality Standard annual limit for PM2.5 (12 µg/m3). Thurston
   et al, 2015.

          Furthermore, in its calculations of the benefits of reducing exposures to PM2.5 as justification
   for making the NAAQS more protective, EPA implicitly acknowledged that significant adverse
   health risks occur at exposures allowed by the NAAQS. For example, in a recent EPA Regulatory
   Impact Analysis for reducing the annual PM2.5 standard from 15 µg/m3 to 12 µg/m3 (U.S. EPA,
   2012), EPA included a figure summarizing the best, most current science regarding PM2.5 health
   effects. These data clearly illustrate that air pollution deaths occur below the existing PM2.5 NAAQS
   (35 µg/m3 for the daily standard, and 12 µg/m3 for the annual standard). This figure, shown below,
   provides EPA’s best estimate of the deaths that would be avoided by implementing the proposed
   more stringent standard, with roughly half of the avoided deaths occurring in places where air
   pollution would be reduced to levels below (i.e., with air quality better than) the proposed air quality
   standard. While this particular EPA analysis is for the annual average concentrations, the same
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   principle of effects occurring below the standard applies to the 24-hour PM2.5 standard as well, and,
   in my opinion, to other particulate matter measures, such as PM10.
       Thus, just as cleaning the air below the standards would avoid more of those deaths, any increase
   in pollution will increase the risk of adverse effects at all levels of prevailing air pollution, even
   when the NAAQS standards are not violated.




      Figure 4. U.S. EPA Regulatory Impact Assessment of the Number of Premature PM2.5-Related
        Deaths Avoided for 12/35 vs. 13/35 Ambient PM2.5 Air Quality Standards. (LML = Lowest
               Measured Level of PM2.5 in the study population) (U.S. EPA 2012, Fig. 5-7)

           This U.S. EPA 2009 analysis of mortality associated with exposure to PM2.5 is now outdated

   because it does not account for the more recent data discussed above establishing even stronger

   evidence of associations between exposure to PM2.5 and pre-mature mortality at even lower exposure

   levels. However, it remains instructive for understanding the effects of PM2.5 exposures now being

   reported in the Denver metropolitan area. Regional monitors in the metro area not next to major

   highways have reported annual (mean) concentrations of about 7 to 8 µg/m3, while the monitor

   located near I-70 highways (Globeville) reported mean concentrations in excess of 9 µg/m3. EPA’s

   analysis of the mortality risk associated with these exposures demonstrates that residents living or

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   children spending their days in school near an interstate experience greater risk of mortality from

   cardiovascular disease, compared to residents living in other neighborhoods of Denver where they

   are not exposed to elevated levels of traffic pollution. The increased mortality risk that EPA reports

   between increasing exposure ranging from 8 to 10 µg/m3 are consistent with traffic pollution

   contributions to mortality from cardiovascular disease being higher in city council districts where the

   interstates are located, as compared to other neighborhoods in Denver (DEH, 2014).1

          It is important to recognize that the mortality risk reported by EPA in the RIA for PM2.5 is

   based on health effects research data that assiduously attempts to exclude, rather than account for,

   the contribution of other (non-particulate matter) traffic-related pollutants to increased mortality.

   Thus, the increased risk associated with elevated exposure to PM2.5 along I-70 may only explain a

   portion of the total increased risk that results from exposure to all of the pollutants emitted from a

   heavily traveled interstate highway.

          EPA does not provide a similar risk graphic demonstrating the effect of exposure to PM2.5

   below the level of the NAAQS for other health outcomes, such as childhood asthma, but in my

   opinion the increased exposure to highway pollution demonstrated by the PM concentrations

   reported from monitoring stations near the interstates in Denver can similarly increase risk to

   hospitalization of children for asthma in the council districts where the interstates are located

   compared to other neighborhoods in Denver. As discussed above, the evidence demonstrates that

   exposure to highway pollutants contributes to the increased risk of both the incidence of asthma

   onset during childhood, and the frequency of asthma episodes requiring urgent or emergency care.

   Increased risk of hospitalization from air pollution would therefore be expected among children born

   into and raised in the more polluted near-highway environment whether the NAAQS is attained or

   not.




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             Finally, it is important to note that the World Health Organization has also determined that
   there are adverse health effects that occur below the levels established in the current national
   ambient air standards and guidelines. As stated in the WHO fact sheet on Ambient (outdoor) Air
   Quality and Health2, “The lower the levels of air pollution, the better the cardiovascular and
   respiratory health of the population will be, both long- and short-term.”... “There is a close,
   quantitative relationship between exposure to high concentrations of small particulates (PM10 and
   PM2.5) and increased mortality or morbidity, both daily and over time. Conversely, when
   concentrations of small and fine particulates are reduced, related mortality will also go down –
   presuming other factors remain the same.”....“Small particulate pollution have health impacts even at
   very low concentrations – indeed no threshold has been identified below which no damage to health
   is observed.”
             Adverse Health Effects of Road Dust Exposure.


             The air quality analysis for the I-70 Project acknowledges that 87% of future particle
   pollution emitted from traffic will be road dust, and that road dust emissions will increase as a result
   of increased traffic on the widened highway by 43% from 3.5 tons/day during the baseline year
   (2010) to 5 tons/day during the analysis year (2040). See Final EIS, Attachment J, “Air Quality
   Technical Report,” ¶ 7.4.9, p. 109. The Air Quality Technical Report, ¶ 7.4.10, acknowledges that
   “fugitive emissions and equipment-related exhaust particulate emissions during construction” will
   also increase as a result of construction activities before the new lanes are open to traffic, but does
   not quantify the increase.
             Increased human exposure to this particle pollution (which can include particles from road
   surface erosion, tire and brake wear, and soil particles tracked, splashed or blown onto the highway)
   increases the risk of suffering the adverse health outcomes associated with exposure to the various
   sizes of PM, including fine particles (PM2.5), thoracic particles (PM10 ), and coarse particles (PM10 –
   PM2.5). I previously discussed the evidence showing that exposures below the levels of the NAAQS
   for PM2.5 and PM10 continue to allow adverse health effects. Because most fugitive dust from road
   surfaces fall into the coarse particle range between PM2.5 and PM10, it is important to consider
   whether that particle range itself causes or contributes to significant adverse health out comes to



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       http://www.who.int/mediacentre/factsheets/fs313/en/

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   avoid the possible confounding of results for PM10 that might be attributed to the fraction of PM10
   concentrations that are fine particles, i.e., smaller than 2.5 µm in size.
          While EPA in 2009 confirmed the health impacts of fine particulate matter (PM2.5) and
   inhalable particulate matter (PM10), and those findings have been widely confirmed since 2009, the
   effects of exposure to coarse portion of PM10 (i.e., PM10-2.5), which can make up the largest
   component of the particulate mass generated by traffic (e.g., primarily as road dust), was not
   specifically addressed by EPA.
          The body of studies evaluating the toxicity of the coarse particle size range is more limited,
   but is sufficient to draw conclusions. Available studies show that coarse PM can produce effects
   even larger than found with smaller particulate matter (Becker et al. 2005; Hetland et al. 2005;
   Gilmour et al. 2007). Lippmann et al also concluded that “Coarse PM, fine PM, and ultrafine PM are
   each capable of producing acute health effects of public health concern.” For example, Lippmann
   and colleagues reported that “Our results using PM collected at five sites in three particle-size ranges
   in cells in vitro and in mice treated in vivo by aspiration clearly showed that each size range was
   capable of producing acute effects. Importantly, the effects were often greater for coarse and
   ultrafine PM than for fine PM……Coarse PM elicited the greatest PMN (Polymorphonuclear
   Leukocyte) response in vivo, regardless of site.”
           The epidemiological evidence supports these findings. Adar et al (2014) conducted a
   systematic review and meta-analysis of past associations for short- and long-term PM10-2.5
   concentrations with mortality and hospital admissions. Using 23 mortality and 10 hospital
   admissions studies, they documented suggestive evidence of increased morbidity and mortality in
   relation to higher short-term PM10-2.5 concentrations, with stronger relationships for respiratory than
   cardiovascular endpoints. In Adar et al (2014), the strongest PM10 -2.5 associations with
   cardiovascular mortality associations were found for concentrations greater than 10 µg/m3. [By
   comparison, the difference between the annual average coarse mass (PM10 -2.5) concentrations during
   2015 and 2016 in Globeville was approximately 15 µg/m3. (See EPA data summaries in Appendix
   A] More recently, D'Souza and colleagues used baseline cardiac magnetic resonance images from
   1,490 participants (45-84 y old) from the Multi-Ethnic Study of Atherosclerosis (MESA), and
   assigned 5-y residential concentrations of PM10-2.5 mass, copper, zinc, phosphorus, silicon, and
   endotoxin. They quantified associations with cardiac right ventricular (RV) mass, end-diastolic
   volume, and ejection fraction, after control for risk factors and co-pollutants. They found positive
   associations of RV mass and, to a lesser extent, end diastolic volume with PM10-2.5 mass among

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   susceptible populations including smokers and persons with emphysema. The authors concluded that
   alterations to RV structure may represent a mechanism by which long-term PM10-2.5 exposure
   increases risks for adverse respiratory and cardiovascular outcomes.
          These data are consistent with the conclusion that increased exposure to PM10-2.5 coarse
   particles, such as are emitted during construction activities, also increases the risk of suffering
   adverse health effects for both cardiovascular and respiratory health outcomes.
   Conclusions


          Based upon my review of the existing published scientific and medical literature, including
   my own relevant research, I conclude that the increased air pollution exposure to residents living or
   going to school near to traffic (such as along I-70 in Denver) and its related exposures to particulate
   matter air pollution, including PM10, will be at significantly increased risk of both short- and long-
   term adverse health effects. In particular:
   1) children with asthma are at much greater risk of experiencing asthma exacerbations (e.g., asthma
   attacks, wheezing, cough, etc.) if they have asthma, and healthy children will be at significantly
   higher risk of getting new-onset asthma. All children living near the traffic are at greater risk of
   have their lung growth and development inhibited from what it would have been without such
   exposure, and at greater risk of developing asthma.
   2) in adults, the primary health threat from increased exposure to highway air pollution will be
   increased risks of chronic cardiovascular illness (e.g., PAD), acute myocardial infarctions (MIs),
   lung cancer, and premature mortality.
   3) adverse health effects can be expected not only from fine particulate matter (PM2.5), but also from
   PM10, and the coarse portion of PM10 (i.e., PM10-2.5), as well as from the mixture of gaseous and
   vapor co-pollutants from traffic-related sources.
   4) adverse health risks caused by exposure to PM and the mixture of gaseous and vapor co-pollutants
   from traffic-related sources will increase if exposures to these pollutants are increased, and will
   decrease if exposures are reduced even if the changes in expected air pollution concentration
   exposures occur at levels that do not violate the ambient air quality standards. For example,
   increasing exposures to PM10 and PM2.5 at levels below the NAAQS will increase both the incidence
   of asthma attacks and asthma on-set in the community, increase personal risk for those already
   diagnosed with asthma, and increase risk of suffering acute effects and mortality from cardio-
   vascular disease. Conversely, if traffic and emissions from traffic are reduced, community exposures

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   to these pollutants will be reduced and the incidence of asthma attacks, asthma on-set and acute
   effects and mortality from cardio-vascular disease will be reduced.
   5) exposure to single 24-hour concentrations of PM10 above the level of the NAAQS (150 µg/m3)
   present a significant increased risk of triggering an acute health effect for persons in sensitive
   groups, including children, older adults, and persons with existing respiratory or cardiovascular
   diseases.




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                  Attachment A
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                                                                          PM2.5 (Local Conditions) and PM 10 (Local Conditions or Total 0-10um STP)
                                                                                                                                             3
                                                                              Annual Average Concentration Data as Reported to EPA (ug/m )
                                                2014                                           2015                                              2016                         2017*
  Site                             PM2.5                    PM10                  PM2.5                    PM10                      PM2.5              PM10       PM2.5              PM10
  Alsup                             9.5a                    28.6a                  7.9a                    24.6a
  CAMP                              8.5a                    31.1a                  7.4a                    50.2c                    7.3c                29.2a       8.3c              29.5a
  Denver Visitor Center                                     23.6a                                          24.1a                                        25.7a
  Globeville                                                                       14.2d                   28.1c                    9.6c                28.4c       9.4d              27.6c
                                          c                                              c                        c                    a                       c          a                  c
  I-25                              10.1                                           10.0                    25.6                     8.3                 19.6        8.9               16.9
                                       a                        d                     d                        d                       a                    a          d                  a
  La CASA                           8.0                     27.3                   7.4                     23.6                     6.8                 21.6        7.1               21.2
                                                                                                                                          d                    c          c                  c
  Tri-County Health                                                                                                                 10.8                42.0        9.9               34.5
                                                                  a                                               a                                         a                             a
  Welby                                                       29.8                                         27.1                                         34.7                          37.7
  Source: https://aqsdr1.epa.gov/aqsweb/aqstmp/airdata/download_files.html *
  Annual averages for 2017 include data collected through May 26, 2017.

  Data downloaded 11-5-17.

  PM2.5 Duration, Standard, and Metric
  a: 24-hour; PM25 Annual 2006; Quarterly Means of Daily Means
  b: 24-hour; PM25 24-hour 2006; Daily Mean
  c: 1-hour; Observed Values
  d: 24-hour Block; PM25 Annual 2006; Quarterly Means of Daily Means

  PM10 Parameter, Duration, Standard, and Metric
  a: PM10 Total 0-10um STP; 24 hour; PM10 24-hour 2006; Daily Mean
  b: PM10-LC; 24 hour; Observed Values
  c: PM10-LC; 1 hour; Observed Values
  d: PM10 Total 0-10um STP; 1 hour; Observed Values




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                                                                                       August, 2017

                                             Curriculum Vitae

                                         GEORGE D. THURSTON
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                                            Chester, NY 10918
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                                            Wk: (845) 731-3564
                                            Fax: (845) 351-5472
                                      Email: george.thurston@nyu.edu
                                  http://www.med.nyu.edu/biosketch/gdt1

      Education
      Degree               Field                              Institution
      Diploma              Academic                           Barrington High School, RI
      Sc.B. (Honors)       Environmental Engineering          Brown University
      A.B.                 Environmental Studies              Brown University
      S.M.                 Environmental Health Sciences      Harvard Univ. Schl. of Public Health
      Sc.D.                Environmental Health Sciences      Harvard Univ. Schl. of Public Health
      Postdoctoral Training
             Specialty            Mentor               Place of Training
      Environ. Epidemiology Dr. H. Ozkaynak Harvard Univ., Kennedy Schl. of Gov., Camb., MA
      Internships and Residencies N/A
      Clinical and Research Fellowships N/A
      Licensure and Certification: Environmental Benefits Mapping and Analysis Program - Community
      Edition (BenMAP-CE) Training Certification (August 2014).
      Academic Appointments

      1987-1993    Assistant Professor, Dept. of Environmental Medicine, New York University School
                   of Medicine, New York City, NY.
      1993-2006    Associate Professor (Tenured), Dept. of Environmental Medicine, New York
                   University School of Medicine, New York City, NY.
      2007-present Professor (Tenured), Dept. of Environmental Medicine, New York University School
                   of Medicine, New York City, NY.
      2007-present Affiliated Faculty, Environmental Studies Program, College of Arts and Sciences,
                   New York University, New York City, NY.
      2012-present Affiliated Faculty, Marron Institute on Cities and the Urban Environment, New York
                   University, New York City, NY
      2012-present Faculty Mentoring Champion, Dept. of Environmental Medicine, New York
                   University School of Medicine, New York City, NY.
      Hospital Appointments: N/A
      Other Professional Positions and Visiting Appointments:
            Oak Ridge Institute for Science and Education (ORISE) Fellow (2008-2010)




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      Major Administrative Responsibilities
             Year                 Title, Place of Responsibility
      1995-2004    Director, Community Outreach and Environmental Education Program, NYU-NIEHS Center
                   of Excellence, Nelson Inst. of Environ. Med., NYU School of Medicine, Tuxedo, NY
      2002-2012    Deputy Director, NYU Particulate Matter Research Center, Nelson Inst. of Environmental
                   Medicine, NYU School of Medicine, Tuxedo, NY
      2007-2008    Director, Environmental Epidemiology Core, NYU-NIEHS Center of Excellence,
                   Department of Environmental Medicine, Tuxedo, NY
      2010-2015    Co-Leader, Metals Research Focus Group, NYU-NIEHS Center of Excellence,
                   Department of Environmental Medicine, Tuxedo, NY.
      2012-2016    Chair, Appointments and Promotions Committee, Department of Environmental
                   Medicine, NYU School of Medicine.
      2014-2016    Co-Chair, Environmental Health Research Affinity Group, NYU Global Institute of
                   Public Health (GIPH), New York University, Washington Square.
      2012-present Director, Program in Exposure Assessment and Human Health Effects, Department of
                   Environmental Medicine, NYU School of Medicine.
      Teaching Experience
         Year             Name of course                           Type of Teaching
      1984-1994    Air Poll. Transport Modeling        (G48.2048) Course Director
      2006-present Climate, Air Pollution, & Health    (G48.1010) Course Director
      1986-present Aerosol Science                     (G48.2033) Course Director
      1984-2010    Environmental Contamination         (G48.2305) Lecturer
      1984-present Environ. Hygiene Measurements       (G48.2035) Lecturer/Lab
      1990-1998    Environmental Toxicology            (G48.1006) Lecturer
      1993-1995    Environmental Epidemiology I        (G48.2039) Lecturer
      2001-2003    NYU Summer Institute, Wagner School              Lecturer
      2006-present Environmental Epidemiology I        (G48.2039) Lecturer
      2006-present Science, Health & Envir. Journalism (G54.1017.0) Lecturer
      2009-2011    Global Environmental Health         (U10.2153.1) Course Director
      2009-2012    Global Issues in Environ. Health    (G48.1011) Course Director
      2009-present Earth Systems Science (undergrad) (V36.0200) Lecturer
      2011-present Principles of Environmental Health (G48.1004) Course Director
      2013-present Environ. Hygiene Measurements       (G48.2035) Course Co-Director
      Awards and Honors
      November 1999        Orange Environment Citizens Action Group, OE Award for Excellence in Translating
                           Science to the Public
      December 2000        NYU School of Medicine Dean’s Research Incentive Award
      October 2012         Recipient of the “Haagen Smit Prize” for Best Paper, Atmospheric Environment.
                           http://geo.arc.nasa.gov/sgg/singh/winners12.html
      March 2013           Recipient of the “Best Paper of the Year – Science” Award from ES&T
                           http://pubs.acs.org/doi/full/10.1021/es400924t
      Major Committee Assignments
      New York University Committees
      2007-present: University Sustainability Task Force
      2010-2012: University Faculty Senate Alternate
      2012-present: University Faculty Senator



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      NYU School of Medicine Departmental Committees
      1992-1998: Sterling Forest Library Committee, Member, NYU SOM Dept of Environ. Medicine
      1991-1994     Health & Safety Committee, Member, NYU SOM Dept. of Environ.. Medicine
      1992-2004     Community Outreach and Education Comm., Chairman, NYSOM Dept. of Environ. Med.
      1999-2004     Dept. Chairman’s Internal Advisory Comm., Member, NYUSOM Dept. of Environ. Med.
      2005-present Dept. Academic Steering Committee, Member, NYUSOM Dept. of Environ. Medicine
      2007-2012     Dept. Appointments & Promotions Comm., Member, NYUSOM, Dept. of Environ. Medicine
      2012-present Dept. Appointments & Promotions Comm., Chair, NYUSOM, Dept. of Environ. Medicine
      Advisory Committees
             Regional
      1983-1984     Massachusetts Acid Rain Advisory Board, Member, Mass. Dept. of Env. Protection
      1984-1986     Committee on Environ. And Occup. Health. , NY State American Lung Association
      1991-1996     Air Management Advisory Comm., Member of Health Effects Subcom., NY State DEC
      1995-1999     Engineering Advisory Board, Member, Tuxedo, NY
      1997-1998     Advisory Committee to the Mayor on the Port of Newburgh, Member, Newburgh, NY
      1996-1999     CUES Asthma Working Group, Member, New York Academy of Medicine
      2008-2010     New York City Community Air Study (NYCCAS) Advisory Panel
             National
      1995-1999     Comm. on Health Effects of Waste Incineration, Member, National Academy of Sciences
      1995-1999     National Air Conservation Commission, Member, American Lung Association
      2000-2004     National Action Panel on Environment, Member, American Lung Association
      2005-present National Clean Air Committee, Member, American Lung Association
      2007-2010     U.S. EPA Clean Air Science Advisory Committee (CASAC) for SOx and NOx
      Mar. 2012     EPA Panelist for "Kickoff Workshop to Inform EPA's Review of the Primary NO2 NAAQS”
             International
      1996-1997     Sulfur in Gasoline Health and Environment Panel, Chairperson, Health Canada
      Sept. 2007    Illness Cost of Air Pollution Expert Committee, Canadian Medical Association
      2008-2012     Global Burden of Disease (GBD), Committee on the Human Health Effects of
                    Outdoor Air Pollution, World Health Organization (WHO)
      Grant Review Committees (National)
      March 1989 EPA Air Chemistry and Physics Extramural Grants Review Panel (ad hoc member)
      Oct. 1989     NIEHS P30 Center Special Review Panel (ad hoc member)
      July 1992     NIH R01 Epidemiology & Disease Control Study Section (ad hoc member)
      Nov. 1992     NIEHS P20 Center Development Grant Special Study Section, (ad hoc member)
      June 1996     EPA Special Review Panel of the Health Effects Institute (HEI) (ad hoc member)
      March 1997 EPA Office of Res. and Development External Grant Review Panel (ad hoc member)
      April 1997    NIEHS Community-Based Participatory Res. R01 Special Study Sect. (ad hoc member)
      July 1997     EPA National Environ. Research Lab Intramural Research Review Panel (ad hoc member)
      June 1998     EPA Office of Res. and Development External Grant Review Panel (ad hoc member)
      July 1998     EPA Climate Policy and Programs Division Grant Application Review (ad hoc member)
      Oct. 1998     Mickey Leland Center for Air Toxics Grant Review Panel (ad hoc member)
      April 2000    NIEHS P30 Center Special Review Panel (ad hoc member)
      July 2001     NIEHS Community-Based Participatory Res. R01 Special Study Sect. (ad hoc member)
      Dec. 2001     NIEHS Program Project P01 Site Visit Review Panel (ad hoc member)
      April 2003    NIH R21 Fogarty Health, Env. and Economic Development Study Sect. (ad hoc member)
      Nov. 2003     U.S. EPA STAR Grant Panel (Epidemiologic Research on Health Effects of Long-Term
                    Exposure to Ambient Particulate Matter and Other Air Pollutants) (member)
      October 2004 NIEHS Program Project P01 Review Panel (ad hoc member)
      June 2005     NIH Special Emphasis Panel (ZRG1 HOP Q 90 S) (ad hoc member)
      Nov. 2005     NIH Infectious Disease, Reproductive Health, Asthma/Allergy, and Pulmonary
                    (IRAP) Conditions Study Section Review Panel (ad hoc member)

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      Feb. 2006     NIH Infectious Disease, Reproductive Health, Asthma/Allergy, and Pulmonary
                    (IRAP) Conditions Study Section Review Panel (ad hoc member)
      June 2006     NIH Infectious Disease, Reproductive Health, Asthma/Allergy, and Pulmonary
                    (IRAP) Conditions Study Section Review Panel (ad hoc member)
      Dec. 2006     NIEHS Special Emphasis Panel on Genetics, Air Pollution, and Respiratory Effects
                    (ZES1 TN-E FG P) (member)
      Nov. 2007     NIH Special Emphasis Panel on Community Participation in Research (ZRG1 HOP-
                    S) (member)
      June 2009     NIH Study Section Review Panel on Challenge Grants in Health & Science Research
      March 2011 U.S. EPA Science to Achieve Results (STAR) Graduate Fellowship Review Panel –
                    Clean Air Panel (chair)
      Sept. 2011    NIH Special Epidemiology Study Section (ZRG1 PSE K 02 M) (member)
      Oct. 2012     NIH Cardiac and Sleep Epidemiology (CASE) Study Section (ad hoc member)
      June 2013     NIH Special NHLBI Dataset Study Section (ZRG1 PSEQ 56) (member)
      July 2013     NIH “Career Awards” Study Section (ZES1 LWJ-D, K9) (member)
      Sept. 2013-15 Permanent Member, NIH Cardiac and Sleep Epidemiology Study Section (CASE)
                    Study Section
      Sept. 2015-17 Permanent Member, NIH Cancer, Heart, and Sleep Epidemiology Study Section
                    (CHSE) Study Section
      Nov. 2016     NIEHS R13 Study Section (member)
      Memberships, Offices, And Committee Assignments in Professional Societies
             Year                  Society/Committees
      1980-1996     Air and Waste Management Association (Comm. on Health Effects and Exposure,)
      1992-Present American Thoracic Society (ATS): Environmental and Occup. Health (EOH) Assembly,
                    1995-1999, 2012-present: ATS EOH Long Range Planning Committee;
                    1993-1994, 2002-2004: ATS Program Committee
                    2006-2007 Chairman of the ATS-EOH Nominating Committee
                    2010-present: ATS Environmental Health Policy Committee, member
                    2012-2014: ATS Environmental Health Policy Committee, Vice-Chairman
                    2015-2018: ATS Environmental Health Policy Committee, Chairman
      1990-present International Society of Exposure Science
      1992-present International Society for Environmental Epidemiology
                     (Annual Meeting Program Committee: 1998, 2000, 2003, 2004, 2006)
                    (ISEE Conference Planning Committee: 2006-present)
      2007-2009     New York Academy of Sciences (membership given in appreciation for a 1/23/07 NYAS
                    forum presentation)
      2017-present American Public Health Association (APHA)
      Editorial Positions
             Journal Board Membership
             Year                  Name of Board
      1993-2008            International Society of Exposure Analysis (J. of Exp. Anal. and Environ. Epid.)
      2017-present         Environmental Health Perspectives (EHP)
             Ad Hoc Manuscript Reviewer
             Years                 Journal
      1996-1998            American Journal of Epidemiology
      1994                 Archives of Environmental Health
      1995-present         Atmospheric Environment
      1995-present         Environmental Health Perspectives
      1994-present         Environmental Research


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      2004-present          Environmental Science and Technology
      2011-present          Epidemiology
      1993-present          Journal of Exposure Analysis and Environmental Epidemiology
      1994-present          Journal of the Air and Waste Management Association
      1996-present          Journal of the American Medical Association
      1997-present          Journal of Occupational and Environmental Medicine
      1997-present          Journal of Respiratory and Critical Care Medicine
      2006-present          Thorax
             Scientific Report Reviewer
      August, 1986          Reviewer for the National Academy of Sciences, Board on Environmental Studies
                            and Toxicology report “The Airliner Cabin Environment: Air Quality and Safety”
      October, 2002         Reviewer for the NAS, Board on Environmental Studies and Toxicology report
                            “Estimating the Public Health Benefits of Proposed Air Pollution Regulations”
      Mentoring of Graduate Students, Residents, Post-Doctoral Fellows in Research
      Under direct supervision:
      Student Name                 Type of Position      Time Period          Present Position
      Mark Ostapczuk        Masters               1984-1986    Industrial Hyg., Barr Labs, Pomona, NJ
      Kazuhiko Ito          Masters/Doctoral      1984-1990    Scientist, NYC Dept. of Health, NYC, NY
      Peter Jaques          Masters/Doctoral      1988-1998    Assoc. Prof., Clarkson Univ., Potsdam, NY
      R. Charon Gwynn       Masters/Doctoral      1992-1999    Epidemiologist, Columbia Univ., NY
      Ramona Lall           Masters/Doctoral      2000-2007    Research Sci. IV, NYC Dept. of Health, NY
      Ariel Spira-Cohen     Masters/Doctoral      2003-2009    Research Sci. III, NYC Dept. of Health, NY
      Kevin Cromar          Masters/Doctoral      2008-2012    Assistant Professor, NYU School Of Medicine
      Lital Yinon           Doctoral              2011-present Doctoral Candidate, NYU School of Medicine
      Chris Lim             Doctoral              2012-present Doctoral Candidate, NYU School of Medicine
      In advisory function (thesis committee):
      Student Name                   Advisory Role     Time Period    Student’s Supervisor
      Shao-Keng Liang        Doctoral Committee member 1990-1994      Dr. J. Waldman, UMDNJ, Rutgers
      Jerry Formisano        Doctoral Committee member 1997-2000      Dr. M. Lippmann, NYU SOM
      Yair Hazi              Doctoral Committee member 1993-2001      Dr. B. Cohen, NYU SOM
      Samantha Deleon        Doctoral Committee member 1997-2003      Dr. K Ito, NYU SOM
      Chun Yi Wu             Doctoral Committee member 2000-2004      Dr. L.C. Chen, NYU SOM
      Carlos Restrepo        Doctoral Committee member 2002-2004      Dr. R. Zimmerman, Wagner, NYU
      Shaou-I Hsu            Doctoral Committee member 2000-2009      Dr. M. Lippmann, NYU-SOM
      Steven Schauer         Doctoral Committee member 2007-2009      Dr. B. Cohen, NYU-SOM
      Christine Ekenga       Doctoral Committee Chair 2009-2011       Dr. G. Friedman-Jimenez, NYU-SOM
      Rebecca Gluskin        Doctoral Committee Chair 2009-2012       Dr. Kazuhiko Ito, NYU SOM
      Jiang Zhou             Doctoral Committee Chair 2008-2012       Dr. Kazuhiko Ito, NYU SOM
      Eric Saunders          Doctoral Committee Chair 2012-present    Dr. Terry Gordon, NYU SOM
      Teaching Awards Received
      N/A
      Major Research Interests
      1) Air Pollution Epidemiology: Real-world air pollution exposures and human health effects in the
      general population and study cohorts of suspected susceptible individuals (e.g., children).

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      2) Aerosol Science: Ambient particulate matter aerosol exposures, including designing and
      implementing air monitoring equipment to collect human exposures to air pollution.
      3) Environmental Exposure Assessment: Methods to assess human exposures and health effects from
      air pollution, especially the development of source apportionment models to separate human effects
      on the basis of pollution source. Design of epidemiological models/methods that better incorporate
      potential air pollution confounders/effect modifiers (e.g. weather and genetic influences).


      Patents
      None

      Boards and Community Organizations
      1990-1995    St. Mary’s Episcopal Church, Tuxedo, NY, Vestry member
      1992-2008    Monroe-Woodbury Soccer Club, Coach (Board Member: 1999-2000)
      1994-1999    Orange County Citizen’s Foundation, Member
      1999-2009    Y2CARE Monroe-Woodbury, NY School District Residents Action Group, Founder
      2005-present St. Mary’s Episcopal Church, Tuxedo, NY, Community Outreach Committee, Member
      2006-present EPISCOBUILD-Newburgh, NY Habitat for Humanity Advisory Board, Member
      2012-present St. Mary’s Episcopal Church, Tuxedo, NY, Vestry member
      Military Service
      None
      International Scientific Meetings Organized
      May 28-30, 2003 “Workshop on the Source Apportionment of PM Health Effects.” U.S. EPA PM Centers,
                      Harriman, NY.
      Aug. 1-4, 2004 “Sixteenth Conference of the International Society for Environmental Epidemiology,”
                      Kimmel Conference Center, Washington Square, New York University, New York City,
                      NY.
       Scientific Forums for the Public Organized
      June 2001        “Science and Community Interaction Forum on the Environment.” Held at Hostos
                       Community College, Bronx, , New York City, NY.
      October 2001     “Forum on Environmental Health Issues Related to the World Trade Center Disaster.”
                       Held at NYU Law School, Washington Square, New York City, NY.
      October 2002     “2nd Annual Forum on the Environmental Health Issues Related to the World Trade
                       Center Disaster.” Held at Manhattan Borough Community College, New York City, NY.
      October 2003     “3nd Annual Forum on the Environmental Health Issues Related to the World Trade
                       Center Disaster.” Held at NYU Lower Manhattan Campus, New York City, NY.
      Invited U.S. House and Senate Congressional Testimony
      Feb. 5, 1997     “Human Health Effects of Ambient Ozone Exposures” Statement before the Committee
                       on Environment and Public Works, Subcommittee On Clean Air, Wetlands, Private
                       Property, And Nuclear Safety, U.S. Senate, Washington, DC.
                       http://epw.senate.gov/105th/thurston.htm
      April 16, 1997    “Human Health Effects of Ambient Ozone and Particulate Matter Exposures.”
                       Statement before the Government Reform and Oversight Committee of the U.S. House of
                       Representatives, Washington, D.C.



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      May 8, 1997       “Human Health Effects of Ambient Ozone and Particulate Matter Exposures.”
                       Statement before the Subcommittee on Health and Environment, Committee on
                       Commerce of U.S. House of Representatives, Washington,. D.C.
      July 29, 1997,   “The Human Health Effects of Ambient Ozone and Particulate Matter Air
                       Pollution.” Statement before the Subcommittee on Commercial and
                       Administrative Law of the Judiciary Committee of the U.S. House of
                       Representatives, Washington,. D.C.
                       http://judiciary.house.gov/legacy/commercial.htm
      October 22, 1997 “Ozone and Particulate Matter Air Pollution Health Effects.” Statement before the U.S.
                       Senate Committee on Environment and Public Works Subcommittee on Clean Air,
                       Wetlands, Private Property, and Nuclear Safety. Washington, DC.
                       http://epw.senate.gov/105th/thursto2.htm
      July 15, 1999:   “The Mandated Release of Government-Funded Research Data.” Statement
                       before the Committee On Government Reform, Subcommittee on Government
                       Management, Information And Technology, U.S. House of Representatives
      July 26, 2001     “The Human Health Effects Of Air Pollution From Utility Power Plants.”
                       Statement before the Committee on Environment and Public Works, U.S. Senate,
                       Washington, D.C.
                       http://www.c-spanvideo.org/program/PlantE
      Feb 11, 2002:     “The Air Pollution Effects of The World Trade Center Disaster.” Statement
                       before the Committee On Environment And Public Works, Subcommittee On
                       Clean Air, Wetlands, And Climate Change. United States Senate, New York, NY.
                       http://www.c-spanvideo.org/program/Qualitya
      March 5, 2002    “The Use of the Nationwide Registries to Assess Environmental Health Effects.”
                       Statement before the Committee On Health, Education, Labor, And Pensions,
                       Subcommittee On Public Health, U.S. Senate, Washington, DC.
      Sept. 3, 2002    “The Clean Air Act and The Human Health Effects of Air Pollution from Utility
                       Power Plants.” Statement before the U.S. Senate Committee on Health,
                       Education, Labor, and Pensions, Subcommittee on Public Health, Washington,
                       D.C. http://www.c-spanvideo.org/program/AirStand
      April 1, 2004     “The Human Health Benefits Of Meeting the Ambient Ozone And Particulate
                       Matter Air Quality Standards.” Statement before the Committee on Environment
                       and Public Works, Subcommittee on Clean Air, Climate Change, and Nuclear
                       Safety, U.S. Senate, Washington, D.C.
                       http://epw.senate.gov/epwmultimedia/epw040104.ram
       July 19, 2006    “The Science And Risk Assessment Of Particulate Matter (PM) Air Pollution
                       Health Effects.” Statement before the Committee on Environment and Public
                       Works, U.S. Senate, Washington, D.C.
                       http://epw.senate.gov/hearingstatements.cfm?id=258766
      May 7, 2008      “Science And Environmental Regulatory Decisions.” Statement before the
                       Committee On Environment And Public Works of The U.S. Senate,
                       Subcommittee on Public Sector Solutions to Global Warming, Oversight, and
                       Children’s Health Protection, U.S. Senate, Washington, D.C.
                       http://www.c-spanvideo.org/program/RegulatoryD
                       http://epw.senate.gov/public/index.cfm?FuseAction=Hearings.Hearing&HearingI
                       D=a1954f70-802a-23ad-4192-fc2995dda7f4
      October 4, 2011 “The Science of Air Pollution Health Effects and the Role of CASAC in EPA
                       Standard Setting” Statement before the Subcommittee on Energy and the



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                        Environment, Committee on Science, Space and Technology, U.S. House Of
                        Representatives, Washington, DC.
                        http://science.house.gov/hearing/energy-and-environment-subcommittee-–-
                        hearing-quality-science-quality-air
      Other Invited Presentations
      Regional Presentations
      April 21, 1993   “Summertime Smog and Hospital Admissions for Respiratory Illness”, Environmental
                       and Occupational Health Sciences Institute Seminar Series Lecture, UMDNJ-Robert
                       Wood Johnson Medical School, Piscataway, NJ.
      Dec .14, 1995    “Health Effects of Acidic Aerosols”, NY State Dept. of Health, Wadsworth Center
                       Seminar, Albany, NY
      Jan. 18, 1996    “Outdoor Air Pollution and Asthma in Children “ American Lung Association Press
                       Briefing, New York, NY.
      June 1, 1996     “Asthma and Urban Air Pollution”, WHEACT, Harlem Hospital, New York, NY.
      July17, 1996     “Asthma and Outdoor Air Pollution”, Making the Connection: Urban Air Toxics &
                       Public Health. Northeast States for Coordinated Air Use Management (NESCAUM),
                       Roxbury, MA
      Feb. 11, 1997    “Outdoor Air Pollution and Asthma”, Bellevue Hospital Asthma Clinic Grand Rounds.
                       New York City, NY.
      Feb. 26, 1998     “Scientific Research for Ozone and Fine Particulate Standards “, Pace University School
                       of Law, White Plains, NY
      Nov. 30, 1998     “Outdoor Air Pollution and Asthma”, Center for Urban and Environmental Studies
                       (CUES), NY Academy of Medicine,, New York, NY
      Feb. 22, 1999    “Asthma and Air Pollution”, Cornell University, Ithaca, NY
      April 28, 2001   “Asthma and Air Pollution in New York City”, NYC Council Environmental Candidate
                       School, NY League of Conservation Voters, New York, NY.
      Nov. 1, 2001     “Air Quality and Environmental Impacts Due to the World Trade Center Disaster”,
                       Testimony before the Comm. on Environ. Protection, NYC Council, New York, NY.
      Nov. 13, 2001    “WTC Pollution Impacts in Lower Manhattan”, Stuyvesant High School Parents
                       Association General Meeting, Stuyvesant High School, New York, NY
      Feb. 28, 2002    “Lung Cancer Effects of Long-Term Exposure to Ambient Fine Particulate Matter”,
                       Mailman School of Public Health, Columbia University, New York, NY.
      April 5, 2002     “Air Pollution Impacts of the WTC Disaster”, 23rd Annual Scientific Conference of the
                       NY/NJ Education and Research Center: "Worker Health and Safety: Lessons Learned in
                       the Aftermath of Sept. 11, 2001," Mt. Sinai School of Medicine, NYC, NY
      April 21, 2002   “Adverse Health Effects of Power Plant Air Pollution on Children” Earth Day 2002, 14th
                       Street Y, New York City, NY.
      May 23, 2002      “Human Health Effects of Power Plant Pollution”, Rockland County Conservation
                       Association, Suffern, NY
      May 31, 2002     “Environmental Health Impacts of the World Trade Center Disaster”, University of
                       Rochester Medical School, Rochester, NY.
      Sept. 19, 2002   “Community Air Pollution Related to the World Trade Center Disaster”. NYC
                       Council Forum: The Environmental Health Consequences of 9/11: Where Do We
                       Stand One Year Later? Borough of Manhattan Community College, New York
                       City, NY.
      Oct. 3, 2002     “Community Exposures to Particulate Matter Air Pollution from the World Trade
                       Center Disaster”, Mount Sinai School of Medicine Grand Rounds, New York
                       City, NY.



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      April 11, 2003    “Environmental Impacts of the World Trade Center Disaster”, NIEHS Public Interest
                        Liaison Group, New York City, NY.
      April 21, 2003      “Asthma and Air Pollution”, Airborne Threats to Human Health, NIEHS Town Hall
                        Meeting, Syracuse, NY.
      May 7, 2003        “Asthma and Air Pollution in NY City” Environmental Candidate School for New York
                        City Council Candidates, Wagner School, NYU, New York City, NY.
      July 21, 2003     “Health Effects of Particulate Matter Air Pollution”, Ozone Transport Commission,
                        Philadelphia, PA.
      Nov. 18, 2004     “Ambient Air Pollution Particulate Matter (PM): Sources and Health Impacts”. U.S.
                        Environmental Protection Agency, Region 2, New York City, NY.
      Feb. 17, 2005     “Community Air Pollution Aspects Of The Demolition Of 9-11 Contaminated
                        Buildings”. Testimony before the Committee On Lower Manhattan Redevelopment,
                        New York City Council, New York City, NY.
      Oct. 19, 2005     Air Pollution Health Effects: Consideration of Mixtures. Fall Meeting of the Mid-Atlantic
                        Chapter of the Society of Toxicology (MASOT), East Brunswick, NJ.
      Dec.7, 2006       Asthma and Air Pollution Effects in the South Bronx. New York City Child Health
                        Forum, The Children’s health Fund, Harlem, NYC, NY.
      Jan. 18, 2007     Air Pollution Effects in New York City. NYU Environmental Sciences Seminar Lecture,
                        Washington Square, NYC, NY.
      Jan. 23, 2007     The South Bronx Backpack Study: Asthma and Air Pollution in NYC. Presented at the
                        forum "High Asthma Rates in the Bronx: What Science Now Knows and Needs to
                        Learn." New York Academy of Sciences, 7 World Trade Center, NYC, NY.
      Oct. 2, 2009      “Diesel Air Pollution and Asthma in New York City”. Brown Superfund Research
                        Program, Brown University, Providence, RI.
      June 19, 2012     “The Backpack Study of Asthma and Diesel Air Pollution in the South Bronx”. Region 1
                        U.S. EPA, Citizen Science Workshop, New York City, NY.
      National Presentations
      Oct. 20, 1987.     NIEHS Symposium on the Health Effects of Acid Aerosols: “Re-examination of
                        London, England, Mortality in Relation to Exposure to Acidic Aerosols During 1963-
                        1972 Winters” RTP, NC.
      Aug. 13, 1991      “Kuwait Mortality Risks from SO2 and Particles: Insights from the London Fogs”’ The
                        Kuwait Oil Fires Conf., American Academy of Arts and Sciences, Cambridge, MA.
      Jan. 24, 1994     “Air Pollution Epidemiology: Is the Model the Message?” The First Colloquium on
                        Particulate Air Pollution and Human Morbidity and Mortality”. Beckman Center of the
                        NAS, Irvine, CA.
      May 23, 1994      “ Ozone Epidemiological and Field Studies”. American Thoracic Society Annual
                        Meeting, Boston, MA.
      May 25, 1994      “Epidemiological Evidence Linking Outdoor Air Pollution and Increased Hospital
                        Admissions for Respiratory Ailments” American Thoracic Society Annual Meeting,
                        Boston, MA.
      May 6, 1996       “Associations Between PM10 & Mortality in Multiple US Cities”. Second Colloquium on
                        Particulate Air Pollution and Health. Park City, Utah.
      Sept. 5, 1996      “Particulate Matter Exposure Issues for Epidemiology” U.S. EPA Particulate Matter
                        Workshop, RTP, NC
      April 3, 1997      “Health Effects of Ambient Ozone & Particulate Matter” Air and Waste Assoc. Regional
                        Conference On Impacts of EPA’s Proposed Changes to Ozone and PM Standards, Oak
                        Brook, IL
      April 22, 1998    “The New EPA Standards for Ambient PM and Ozone” American Lung Association
                        Annual Meeting, Chicago, IL.



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      Dec. 21, 1999     “Global Overview of Human Death and Illness due to Air Pollution”. California Air
                       Resources, Sacramento, CA.
      March 24, 2000 “Estimating Ancillary Impacts, Benefits and Costs Of Proposed GHG Mitigation
                       Policies For Public Health“ Resources for the Future, Wash., DC.
      June 24, 2002    “Investigations Into the Environmental Health Impacts Related to the WTC
                       Disaster” Air And Waste Management Annual Meeting, Baltimore, MD.
      July 15, 2002    “Air Pollution and Human Health” NIEHS Built Environment Conference, RTP, NC
      July 26, 2002    “The Human Health Effects of Power Plant Emissions and Associated Air Pollution”,
                       The Environment & Health Forum, Physicians for Social Responsibility, Washington,
                       DC.
      October 7, 2002 “Community Exposures to Particulate Matter Air Pollution from the World Trade Center
                       Disaster” Plenary Speaker at the American Association for Aerosol Research,
                       Charlottesville, North Carolina.
      Nov. 11, 2002    “Characterization of Community Exposures to World Trade Center Disaster Airborne and
                       Settled Dust Particulate Matter Air Pollution”, American Public Health Association
                       Annual Meeting, Philadelphia, PA.
      Dec. 5, 2002     “Susceptibility of Older Adults to Air Pollution”, EPA Workshop on Differential
                       Susceptibility of Older People to Environmental Hazards. National Academy of Sciences,
                       Washington, DC.
      Feb. 3, 2003     “Health Effects of Particulate Matter Air Pollution”, National Air Quality Conference,
                       U.S. EPA, San Antonio, Texas
      May 17, 2003     “Assessing the Influence of Particle Sources and Characteristics on Adverse Health
                       Effects of PM”, PG18 - New Tools to Evaluate the Health Effects of Air Pollution in
                       Epidemiologic Studies. American Thoracic Society Annual Meeting, Seattle, WA.
      Sep. 10, 2003    “Nature and impact of World Trade Center Disaster fine particulate matter air pollution at
                       a site in Lower Manhattan after September 11.” Annual Meeting of the American
                       Chemical Society, New York, NY.
      October 20, 2003 “Translating Air Pollution Risks to the Community” Annual Meeting of the NIEHS
                       Center Directors, Baltimore, MD.
      May 18, 2004     “The Health Imperative for Implementation of the Clean Air Act” State and Territorial
                       Air Pollution Program Administrators/ Association of Local Air Pollution Control
                       Officials (STAPPA/ALAPCO) National Conference, Point Clear, Alabama.
      Oct. 18, 2004    “NIEHS Centers’ Investigations of the World Trade Center Collapse Pollution Exposures
                       and Effects: A Public Health Collaboration” National Institute of Environmental Health
                       Sciences Center Directors’ Meeting, Research Triangle Park, NC.
      May 25, 2005     “Human Health Effects Associated with Sulfate Aerosols”, American Thoracic Society
                       Annual Meeting, San Diego, CA
      Oct. 24, 2005    “The Science Behind the Particulate Matter (PM) Standards” State and Territorial Air
                       Pollution Program Administrators/ Association of Local Air Pollution Control Officials
                       (STAPPA/ALAPCO) National Conference, Alexandria, Virginia.
      Oct. 14, 2008    “Diesel Air Pollution and Asthma Exacerbations in a Group of Children with Asthma”
                       Annual Meeting of the International Society for Environmental Epidemiology (ISEE).
                       Pasadena, California.
      Feb. 26, 2010    “What studies are appropriate to use to estimate health impacts from specific sources
                       such as diesel PM?” CARB Symposium: “Estimating Premature Deaths from Long-term
                       Exposure to PM2.5”. Sacramento, CA.
      May 6, 2011      “Lung Cancer Risks from Exposure to Fine Particle Air Pollution” NYU Cancer Institute
                       Symposium: “Cancer and the Environment”, NYC, NY.
      May 16, 2012     “The Human Health Effects of Air Pollution” The Air We Breathe: Regional Summit on
                       Asthma and Environment at Allegheny General Hospital, Pittsburgh, PA.


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      June 20, 2013     “Particles in our Air: A Global Health Risk”, Northeastern University, Research Seminar.
                        Boston, MA.
      Mar 5, 2015       “Air Pollution, Climate Change and Health”. Stegner Institute Air Quality Symposium,
                        Salt Lake City, Utah.
      International Presentations
      May 1, 1987       “Acid Aerosols: Their Origins, Occurrence, and Possible Health Effects”, Canadian
                        Environmental Health Directorate Seminar, Health and Welfare Canada, Ottawa, Canada
      July 2, 1987       “Health Effects of Air Pollution in the US”, University of Sao Paulo, Sao Paulo, Brasil
      Feb. 5, 1991      “Results from the Analysis of Toronto Summer Sulfate and Aerosol and Acidity Data”,
                        Workshop on Current Use and Future Directions of Hospital-Based Data in the
                        Assessment of the Effects of Ambient Air Pollution on Human Health. Health and
                        Welfare Canada, Ottawa, Canada.
      April 23, 1997    “An Evaluation of the Role of Acid Aerosols in Particulate Matter Health Effects”,
                        Conference on the Health Effects of Particulate Matter in Ambient Air. Air & Waste
                        Management Association, Prague, Czech Republic.
      May 12, 1998       “The Health Effects of PM and Ozone Air Pollution”, Air Pollution: Effects on Ontario’s
                        Health and Environment. Ontario Medical Association, Toronto, Canada
      Nov. 1, 1999      “Climate Change and the Health Impacts of Air Pollution”. The Public Health
                        Opportunities and Hazards of Global Warming Workshop at the U.N. Framework
                        Convention on Climate Change, Conference of Parties (COP5), Bonn, Germany.
      August 31, 2000 “Particulate Matter Air Pollution and Health in three Northeastern Cities”, World
                        Congress on Lung Health, Florence, Italy
      January 29, 2001 “PM Exposure Assessment and Epidemiology”, NERAM International Colloquia:
                        Health and Air Quality: Interpreting Science for Decision Makers. Ottawa, Canada.
      Feb. 4-5, 2002: “Air Pollution Exposure Assessment Approaches in U.S. Long-Term Health Studies”,
                        Workshop on Exposure Assessment in Studies on the Chronic Effects of Long-term
                        Exposure to Air Pollution, World Health Organization, Bonn, Germany
      May 2, 2002       “Health Effects of Sulfate Air Pollution” Air Pollution as a Climate Forcing Workshop,
                        East-West Center, Honolulu, Hawaii
      Sept. 24, 2003    “Identification and Characterization of World Trade Center Disaster Fine Particulate
                        Matter Air Pollution at a Site in Lower Manhattan Following September 11.” Annual
                        Meeting of the International Society for Environmental Epidemiology (ISEE). Perth,
                        Australia.
      Dec. 1, 2003      “Terrorism and the Pulmonary Effects of the World Trade Center Disaster Particulate
                        Matter Air Pollution”, British Thoracic Society, London, England.
      Sept 14, 2005     “Results And Implications of The Workshop on the Source Apportionment of PM Health
                        Effects”, Annual Meeting of the International Society for Environmental Epidemiology
                        (ISEE). Johannesburg, South Africa.
      Sept. 4, 2006     “A Source Apportionment of U.S. Fine Particulate Matter Pollution for Health Effects
                        Analysis”, Annual Meeting of the International Society for Environmental Epidemiology
                        (ISEE). Paris, France.
      Sept. 4, 2007     “Applying Attributable Risk Methods to Identify Susceptible Subpopulations”, Annual
                        Meeting of the International Society for Environmental Epidemiology (ISEE). Mexico
                        City, Mexico.
      Aug. 27, 2009     “Ischemic Heart Disease Mortality Associations with Long-Term Exposure to PM2.5
                        Components”, Annual Meeting of the International Society for Environmental
                        Epidemiology (ISEE). Dublin, Ireland.
      Dec. 1, 2010      "The Hidden Air Quality Health Benefits of Climate Change Mitigation". The Energy
                        and Resources Institute (TERI), Lodhi Road, New Delhi, India.



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      July 17, 2012     “Recent Findings on the Mechanisms and Health Risks of Particulate Matter Air
                        Pollution”, European Centre for Environment & Human Health, Truro, England.
      Aug. 29, 2012     “Health Effects of PM Components: NYU NPACT Epidemiology Results and their
                        Integration with Toxicology Results”, Annual Meeting of the International Society for
                        Environmental Epidemiology (ISEE). Columbia, SC.
      May 20, 2013      “Long-term PM2.5 Exposure and Mortality in the NIH-AARP Cohort”, Annual Meeting
                        of the American Thoracic Society (ATS). Philadelphia, PA.
      Oct. 27, 2013     “Human Health Effects and Global Implications of Particle Air Pollution”, Center of
                        Excellence in Exposure Science and Environ. Health, Technion University, Haifa, Israel.
      May 17, 2015      “Human Health Co-Benefits of Climate Change Mitigation Measures” in the
                        Environment, Global Climate Change And Cardiopulmonary Health session of the
                        American Thoracic Society (ATS) Annual Meeting in Denver, CO, USA.
      Jan. 21, 2016     “Particle Air Pollution: Its Adverse Human Health Effects and Potential Climate
                        Mitigation Health Co-Benefits”. Imperial College. London, England.
      Sep. 1, 2016      “Air Quality Health Co-benefits from Climate Change Mitigation Measures”. 2016
                        Annual Meeting of the International Society for Environmental Epidemiology (ISEE).
                        Rome, Italy.
      Feb. 12, 2017     “Human Health Effects and Global Implications of Particle Air Pollution”. MASDAR
                        Institute. Abu Dhabi, United Arab Republic.
      Apr. 22, 2017     “Clean Air Health Benefits from Climate Change Mitigation Action”. Global Health &
                        Innovation Conference. Yale University, New Haven, CT.
      Scientific Meeting Sessions Chaired
      May 1, 1996       “Epidemiological Findings”, 2nd Colloquium on Particulate Air Pollution & Health.
                        Park City, UT.
      May 14, 1996      “Particulate Toxicity”, American Thoracic Society Annual Meeting, New Orleans, LA.
      Jan. 30, 1998     “Evaluation of PM Measurement Methods”. PM2.5: A Fine Particulate Standard Specialty
                        Conference. Los Angeles, CA.
      August 18, 1998 “Communities and Airports: How to Co-Exist?”, Annual Meeting of the International
                        Society for Environmental Epidemiology (ISEE). Boston, MA.
      April 28, 1998    “Clean Air Act Update”, American Thoracic Society Annual Meeting, Chicago, IL.
      Oct. 21, 1998     “Health Effects and Regulatory Issues in PM”, Particulate Methodology Workshop,. U.S.
                        EPA Center, for Statistics and the Env., Univ. of Washington, Seattle, WA.
      April 26, 1999    “Pulmonary Smoking and Air Pollution Epidemiology.” American Thoracic Society
                        Annual Meeting, San Diego, CA
      Sept. 6, 1999     “Personal exposures to Gases and Particles”, Annual Conference of the International
                        Society for Environmental Epidemiology (ISEE), Athens, Greece.
      March 31, 2000 “Epidemiology: Particles, Co-pollutants & Morbidity and Mortality”, Workshop on
                        Inhaled Environmental/Occupational Irritants and Allergens: Mechanisms of
                        Cardiovascular Responses, American Thoracic Society, Scottsdale, AZ
      Jan. 26, 2000     “Epidemiology of Particulate Matter Air Pollution”, PM2000 Specialty Conference, Air
                        & Waste Management Assoc., Charleston, SC
      May 8, 2000       “Outdoor Air Pollution: Epidemiologic Studies”, American Thoracic Society Annual
                        Meeting, Toronto, Canada
      Sept. 5, 2001     “Mortality Epidemiology Studies”, Annual Meeting of the International Society for
                        Environmental Epidemiology (ISEE). Garmisch, Germany.
      May 20, 2002      "After September 11: Bio-terrorism and The Environmental Health Aftermath of The
                        World Trade Center Disaster", Plenary Session. American Thoracic Society Annual
                        Meeting, Atlanta, GA.



Attachment B - Thurston Declaration - 0012           12
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      April 1, 2003    “Epidemiology: Short-Term and Long-Term Health Effects”, Conference on Particulate
                       Matter: Atmospheric Sciences, Exposure, and the Fourth Colloquium on PM and Human
                       Health, Pittsburgh, PA
      May 19, 2003     “Particulate Air Pollution and Diseases in Adults”, American Thoracic Society Annual
                       Meeting, Seattle, WA.
      May 21, 2003     “Air Pollution as a Cause of Childhood Asthma and Chronic Airway Disease”, American
                       Thoracic Society Annual Meeting, Seattle, WA.
      Sept. 2003       “Unexplained Medical Symptoms”, Annual Meeting of the International Society for
                       Environmental Epidemiology (ISEE). Perth, Australia.
      Sept. 25, 2005   “Technology and Health”, Annual Meeting of the International Society for
                       Environmental Epidemiology (ISEE). Johannesburg, South Africa.
      June 22, 2006    “Characteristics of PM and Related Considerations”, Annual Meeting of the Air and
                       Waste Management Association, New Orleans, LA.
      Sept. 3, 2006    “Air Pollution Mechanisms”, Annual Meeting of the International Society for
                       Environmental Epidemiology (ISEE). Paris, France.
      Sept. 20, 2006   “Linkage and Analysis of Air Quality and Health Data”, EPA & CDC Symposium on Air
                       Pollution Exposure and Health, RTP, NC
      Sept. 5, 2007    “Radiation Exposures and Health Risks”, 2007 Annual Meeting of the International
                       Society for Environmental Epidemiology (ISEE). Mexico City, Mexico
      Aug. 26, 2009    “Exploring the Range of Methodological Approaches Available for Environmental
                       Epidemiology.” 2009 Annual Meeting of the International Society for Environmental
                       Epidemiology (ISEE). Dublin, Ireland
      March 23, 2010   “Exposure to and Health Effects of Traffic Pollution”, 2010 American Association for
                       Aerosol Research Conference on Air Pollution and Health, San Diego, CA.
      Sept. 16, 2011   “Susceptibility to Air Pollution”, 2011 Annual Meeting of the International Society for
                       Environmental Epidemiology (ISEE). Barcelona, Spain.
      Aug. 27, 2012    “Source Apportionment Of Outdoor Air Pollution: Searching For Culprits”. 2012 Annual
                       Meeting of the International Society for Environmental Epidemiology (ISEE). Columbia,
                       SC.
      Aug. 21, 2013    “Source-specific health effects of air pollution”. 2013 Annual Meeting of the
                       International Society for Environmental Epidemiology (ISEE). Basel, Switzerland.
      May 19, 2015     “Indoor and outdoor pollution: epidemiology and mechanisms”. 2015 Annual Meeting of
                       the American Thoracic Society (ATS). Denver, CO, USA.
      Sep. 1, 2016     “Climate Change, Mitigation Measures and Co-Benefits”. 2016 Annual Meeting of the
                       International Society for Environmental Epidemiology (ISEE). Rome, Italy.
     Bibliography
     Invited Journal Editorials
     Thurston GD and Bates DM. (2003). Air Pollution as an Underappreciated Cause of Asthma
        Symptoms, 2003. JAMA, 290:14, pp. 1915-1916.
     Thurston G.D. (2006). Hospital admissions and fine particulate air pollution. JAMA. Oct 25;
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     Thurston G. (2007). Air pollution, human health, climate change and you. Thorax. 2007 Sep; 62 (9):
        748-9.
     Thurston GD, Balmes JR. (2012 ). Particulate matter and the environmental protection agency:
        setting the right standard. Environmental Health Policy Committee of the American Thoracic
        Society. Am J Respir Cell Mol Biol. Dec;47(6):727-8. doi: 10.1165/rcmb.2012-0414ED.
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     864.



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      Thurston GD, Balmes JR. (2017). “We need to “Think Different” about PM. Am. J Resp. & Crit.
      Care Med. 2017 Jul 01; 196(1):6-7.
      Book Chapters
     Thurston, G.D. and Leber, M. The relationship between asthma and air pollution. In: Emergency
        Asthma (ed.: B. Brenner), pp. 127-144. Marcel-Dekker, New York, NY (1999).
     Thurston, G.D. and Ito, K. Epidemiological studies of ozone exposure effects. In: Air Pollution and
        Health (ed.: S. Holgate and H. Koren). Academic Press. London. pp. 485-510 (1999).
     Chen, LC, Thurston, G, and Schlesinger, RB. Acid Aerosols as a Health Hazard. In: Air Pollution
        and Health (ed.: J. Ayres, R. Maynard, and R. Richards). Air Pollution reviews: Vol. 3. Imperial
        College Press. London. pp. 111-161 (2006).
     Thurston, G.D. and Wallace, L. Air Pollution: Outdoor and Indoor Sources. In: Environmental and
        Occupational Medicine, 4th Edition (Eds.: W. Rom and S. Markowitz). Lippincott, Williams, and
        Wilkins, Philadelphia (2006).
     Thurston, G.D. Outdoor Air Pollution. In: Encyclopedia of Public Health (ed. K. Heggenhougen)
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     Thurston, G.D and Bell, M. Aerosols, global climate, and the human health co-benefits of climate
        change mitigation. In Aerosol Handbook (2nd edition) (eds.: Lev S. Ruzer and Naomi H. Harley).
        CRC Press (2012).
     Thurston, G. and Bell, M. The Human Health Co-benefits of Air Quality Improvements Associated
        with Climate Change Mitigation. In. Global Climate Change and Public Health (eds. Kent E.
        Pinkerton and William N. Rom). Humana Press (2013).
     Thurston, GD. Outdoor Air Pollution: Sources, Atmospheric Transport, and Human Health Effects.
        International Encyclopedia of Public Health, 2nd Edition (Editor-in-Chief: S.R. Quah). Academic
        Press (2016).
      National Academy Committee Books Co-Authored
     National Research Council (NRC), Waste Incineration & Public Health. Committee on Health
         Effects of Waste Incineration. Board on Environmental Studies and Toxicology. National
         Academy Press, Washington, DC (2000).
      International Reports Co-Authored
     Health Canada, Health and Environmental Impact Assessment Panel Report, “Joint
         Industry/Government Study: Sulfur in Gasoline and Diesel Fuels”. Ottawa, Canada. (1997).
     World Health Organization (WHO), Exposure assessment in studies on the chronic effects of long-
         term exposure to air pollution. Report EUR/03/5039759. Geneva, Switzerland (2003).
      Peer Reviewed Journal Articles/Letters
     Thurston, G.D. General Discussion: Atmospheric dispersion modeling - A critical review. J. Air
         Pollut. Control Assoc. 29: 939 (1979).
     Thurston, G.D. Discussion of multivariate analysis of particulate sulfate and other air quality
         variables by principal components - part I. Annual data from Los Angeles and New York.
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     Thurston, G.D., J.D. Spengler and P.J. Samson. An assessment of the relationship between regional
         pollution transport and trace elements using wind trajectory analysis. Receptor Models Applied
         to Contemporary Pollution Problems, Ed. E. Frederick, Air Pollution Control Association,
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Attachment B - Thurston Declaration - 0014            14
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         particulate matter in metropolitan Boston, Massachusetts. Atmos. Environ. 19: 9-25 (1985).
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         inhalable particle source impacts. J. Clim. and Appl. Met. 24: 1245-1256 (1985).
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         resulting from exposures to airborne particles. Aerosols: Second U.S.-Dutch International
         Symposium, Lewis Publishing Co., December 1985 (Peer Reviewed).
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         aerosol extinction coefficients derived from airport visual range observations and alternative
         measures of airborne particle mass. J. Air Pollut. Control Assoc. 35: 1176-1185 (1985).
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         698 (1987).
     Ozkaynak, H., and G.D. Thurston. Associations between 1980 U.S. mortality rates and alternative
         measures of airborne particle concentration. Risk Analysis 7: 449-460 (1987).
     Lioy, P.J., D. Spektor, G. Thurston, N. Bock, F. Speizer, C. Hayes and M. Lippmann. The design
         considerations for ozone and acid aerosol exposure and health investigation: The Fairview Lake
         Summer Camp-Photochemical Smog Case Study. Environ. Int'l. 13: 27-83 (1987).
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     Spektor, D.M., M. Lippmann, G.D. Thurston, P.J. Lioy, J. Stecko, G. O'Connor, E. Garshick, F.E.
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         exercising outdoors. Am. Rev. Resp. Dis. 138: 821-828 (1988).
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         aerosol concentrations. Environ. Health Presp. 79: 35-42 (1989).
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         to exposure to acidic aerosols during 1962-1973 winters. Environ. Health Persp. 79: 73-82
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